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Susan M. Rotkis Ariz. Bar NO. 032866

CONSUMER LITIGATION ASSOClATES WEST, P.L.L.C.
382 South Convent Ave.

Tucson, AZ 85701

Telephone: (520) 622-2481

Ernail: Srotkis@clalegal.com

Leonard A. Bennett (requests to be admitted pro hac vice)
CONSU MER LlTlGATlON ASSOClATES, P.C.

763 J. Clyde Morris Blvd. Suite l-A

Newport News, VA 23 601

Telephone: (757) 930-3660

Email: lenbennett@clalegal.com

Noah B. Peters (requests to be admitted pro hac vice)
BAILEY & EHRENBERG PLLC

1015 18th Street, N.W. Suite 204

Washington, D.C. 20036

Tel: (202) 331-1331

Fax: (202) 318-7071

Ernail: nbp@becounsel.com

Attorneysfor Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

BHAVIKA PATEL,

Plaintiff
v.

ITRIA VENTURES, LLC
BIZZCREDIT, INC.

and

TRANSUNION LLC.,

Defendants.

 

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CLASS ACTION C()MPLAINT
Plaintiff, Bhavika Patel, for her complaint against Itria Ventures, LLC, (“ltria”),
BizZCredit, lnc. ("BizQCredit”), and TransUnion LLC, alleges an individual action and class
action as follows:
PRELIMINARY STATEMENT
l. This is an action for actual, statutory and punitive damages, costs and attomeys’
fees brought pursuant to 15 U.S.C. §§ léSIa-X, the Fair Credit Reporting Act (“FCRA”). This
cause arises from the unlawful conduct of BiZZCredit and/or its alter ego, Itria Ventures LLC
(“ltria”), its wholly owned subsidiary, in repeatedly accessing and using Ms. Patel’s consumer
reports without a permissible purpose and on the false basis that they are engaged in “insurance
underwriting_,” in violation of the Fair Credit Reporting Act (FCRA), 15 U.S.C. § 1681 et seq.
In fact, BiZQCredit and/or Itria had no lawful basis to access Ms. Patel’s credit report.
2. BiZZCredit and Itria repeatedly accessed Ms. Patel’s consumer reports from
Equifax Information Services, LLC (“Equifax”), TransUnion LLC (“TranSUnion”), and Itria,
which consumer reporting agencies supplied the reports without first complying with the
FCRA’s prohibition on providing consumer reports unless the requesting user is in compliance

with the permissible purpose rules.

3. BizZCredit describe itself “as an all-in-one financing solution for entrepreneurs to
get a small business loan with fast approval process” and Itria as its “platform through Which
institutional investors can access small businesses looking for funding through a proprietary

online dashboard.”

 

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4. BizZCredit effectively uses Itria to engage in the practice of making merchant
cash advances (MCAs). BizZCredit bills itself as a marketplace to align lenders and borrowers
and find the best rate for consumers In fact, they typically steer borrowers to their alter ego,
Itria. Thus, BizZCredit is effectively the main player in their own “marketplace” through their
wholly-owned subsidiary_, Itria.

5. In addition, Itria and BizZCredit also repackage loans for resale to institutional
investors They act as merely a servicer for certain loans. It is unclear how much of
Itria/BizZCredit’s portfolio is resold, how much is actually owned by these entities, and how
much is assigned to third parties at the onset when the advance is made..

6. Through a series of failures to meet duties imposed upon them by the FCRA, as
fully set forth below, Defendants caused Plaintiff to be injured by invading her privacy, which is
protected by the FCRA, and from which injuries the FCRA is specifically designed to protect
The Plaintiff has a right to privacy of her personal consumer and credit information granted by
Congress and specifically engrossed in the statute itself.

7. The Defendants knew of their duties under the FCRA. Despite that knowledge,
the Defendants had no procedures in place to prevent them from repeatedly accessing Ms. Patel’s
consumer report when they had no permissible purpose to do so. In fact, the Defendants
specifically misrepresented their purpose in accessing the Plaintiffs consumer report in order to
avoid the strictures of the FCRA and causing injury l\/ls. Patel.

8. Ms. Patel’s injuries included, but are not limited to, invasion of her privacy,
publication of her consumer report to third parties without a permissible purpose to do so,

infliction of emotional distress, inconvenience, humiliation, damage to her reputation, loss of

 

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time from work, loss of time from her family, interference with her relationships, loss of money,
loss of sleep1 physical distress.
JURISDICTION
9. The Court has federal question jurisdiction conferred by 15 U.S.C. § 1681p and
28 U.S.C. § 1331. Venue is proper as all relevant events occurred in this District. The Plaintiff
lives in this district and the Defendants have availed themselves of the District by reaching into
Arizona and regularly conduct business in Arizona.
PARTIES
10. Plaintiff is a natural person and resident of the District of Arizona. She is a
consumer as defined by 15 U.S.C. § 1681a(c).
11. Biz2Credit is a foreign corporation organized in the State of Delaware, with its
principal place of business either at 462 7th Ave., 20th Floor, New York, NY 10018 or 333 7th
Ave., New York, NY 10018. Its CEO is Rohit Arora, and its President is his brother Rarnit
Arora. Itria is a wholly-owned subsidiary of, and alter ego of, BiZ2Credit. Itria and BiZZCredit
have the same officers, employees, and agents. ltria is a consumer reporting agency as defined in
the FCRA and supplies consumer reports to third parties as defined in the FCRA, 15 U.S.C. §
1681 a(d) & (f).
12. BizZCredit and Itria generally do not conduct transactions in person with their
customers, but rather conduct business via the internet and telephone.
13. Itria/Biz2Credit’s sales agents are commission-based and incentivized to make a
sale at any cost. They are not properly trained or supervised to ensure that they obey the dictates

of the FCRA. 1n addition, Itria/Biz2Credit does not internalize the full cost of the misdeeds and

 

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negligence of its sales agents because it resells many of its loans to institutional investors such as
Petra Credit Fund and Direct Lending lnvestments.

14. Defendant TransUnion LLC is a foreign corporation doing business in the State of
Arizona. TransUnion is a CRA governed by the FCRA, 15 U.S.C. § 1681a(D.

STATEMENT OF FACTS

15. On August 19, 2015, Ms. Patel’s former husband, Runjan Jain, entered into a
“Future Receivables Sale Agreement” (the “Receivables Agreement”) on behalf of Spire
l\/Ianagement Group Inc. (“Spire”), a company of which he was the sole officer_, owner, employee
and decision-maker.

16. Prior to the August 19, 2015, Receivables Agreement, Mr. Jain completed an
application in order to borrow money from Defendants on behalf of Spire. Defendants refused to
make the loan to Spire based on Mr. Jain’s application Defendants would not loan the money to
Mr. Jain without his wife’s personal guarantee

17. Thereafter, Mr. Jain completed another application on behalf of Spire, which was
accepted by Biz2Credit. Neither Defendants nor any agent on their behalf ever spoke with
Plaintiff before making the loan to Spire.

18. The Receivables Agreement was negotiated entirely by BizZCredit and Mr. Jain,
and all transactions under the Receivables Agreement were arranged by BizZCredit,

19. The Receivables Agreement provided that Itria advance 850,000 to Spire.

20. The Receivables Agreement stated that, in the event of a material breach, Spire
“irrevocably appoints and constitutes Westlake Legal Group . . . as its true and lawful attomey-

in-fact in its name, place and stead, and upon occurrence of default, to confess judgment against

 

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it in any Circuit Court located in the Cominonwealth of Virginia, upon this Agreement and all
amounts owed hereunder.”

21. The Receivables Agreement was signed by Mr. Jain as “President” of Spire as
well as a “Guarantor” of Spire’s obligations under the Receivables Agreement. Ms. Patel never
signed the Agreement as “Vice President” of Spire or as a Guarantor.

22. In fact, l\/ls. Patel’s signature does not appear at all on the Sale Agreement, but
rather a forged signature appears Ms. Patel had no knowledge of the Application or the
Receivables Agreement, did not sign it, and did not consent to it in any way.

23. BiZ2Credit and/or Itria did not obtain an original application or Receivables
Agreement containing original signatures

24. BizZCredit and/or Itria do not have in place any safeguards to ensure that original
or electronic signatures are authentic.

25. The Arizona-commissioned notary public, Tara Wainwright, who notarized the
signatures on the Receivables Agreernent, testified that Ms. Patel never appeared in front of her,
never signed the Receivables Agreement, and that the instrument had been altered from that
which she had notarized.

26. Ms. Patel has not, and has never have been. involved with Spire in any capacity.
She does not serve, has never served, and has never consented to serve as a shareholder, director.
officer, employee, registered agent, or any other type of agent of Spire.

27. Although the Receivables Agreement purports to have been signed by Ms. Patel
in her capacity as Vice President of Spire, and in her individual capacity as a guarantor. she did
not sign or approve the Agreement. She never consented to serve as Spire Management’s Vice

President or as guarantor of the Agreement. She also never consented to have Westlake Legal

 

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Group serve as her "attomey in fact” under any circumstances and she never consented to have
Westlake lregal Group confess judgment on her behalf.

28. On February 3, 2016, Plaintiff (through its attorney. .1. Daniel Griffith of Westlake
Legal Group) filed a Confession of Judgment with the Court.

29. On February 24, 2016, Ms. Patel timely filed a Motion to Set Aside Confession of
Judgment Pursuant to Va. Code. § 8.01-433. Among several grounds for setting aside the
Confession of Judgment, Ms. Patel noted she “did not appoint J. Daniel Griffith, Westlake Legal
Group, or any other individual as its lawful attorney-in-faet and therefore no one other than the
Defendant had the authority to enter Confession of Judgment in Case# CL-99479 against
Defendant on February 3, 2016.”

30. The Confession of Judgment has since been set aside, per the Court’s order of
August 5, 2016.

31. On several occasions in 2015, 2016 and 2017 Biz2Credit accessed Ms. Patel’s
consumer report, falsely certifying that the permissible purpose for obtaining the consumed
report was for “insurance underwriting.” This purported purpose is false and fraudulent Neither
Itria nor BizZCredit has ever been involved in underwriting insurance for Ms Patel, and neither
obtained her permission to access her consumer reports

32. Itria andfor Biz2Credit obtained access to l\/ls. Patel’s credit report before and
after it was put on notice that her signature was forged to the Receivables Agreement and she
had not consented to it in any way, that she had no involvement with Spire, and that she had
satisfied the confessed judgment against her. They continue to access Ms. Patel’s credit report

on a monthly basis

 

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33. Biz2Credit impermissibly obtained Ms. Patel’s credit report for “Insurance
Underwriting” account review from TransUnion, and TransUnion provided the reports without a
permissible purpose to do so, on the following dates: 8/19/2015, 9/18/2015, 1177/2015,
2/17/2016, 3/11/2016, 4/5/2016, 5/5/2016, 6/5/2016, 7/5/2016, 8/5/2016, 9/5/2016, 10/5/2016,
11/5/2016, 12/5/2016, 1/5/2017, and 2/5/2017.

34. TransUnion has no reasonable procedure in place to verify that its subscribers
such as Biz2Credit and ltria obtain verification of permissible purpose prior to providing a
consumer report, such as in this case, TransUnion provided the consumer report to BizZCredit
and ltria upon a representation it was for insurance underwriting

35. TransUnion knew or should have known that its subscriber was not in the
business of insurance underwriting and that its representation was false.

36. On information and belief, BizZCredit andjor Itria accessed Ms. Patel’s consumer
report to obtain information about her; to intimidate her into withdrawing her opposition to its
repeated and vexatious attempts to fraudulently extract money from her by means of forged
documents and false accusations; and otherwise harm her personal and professional reputation.

37. Under 15 U.S.C. § 1681b(3), BizZCredit and ltria were required to have an
enumerated lawful purpose to obtain Ms. Patel’s credit report. 1n fact, neither Biz2Credit nor
ltria had any lawful purpose to request access to Ms. Patel’s consumer report. Any purported
lawful purpose is false and fraudulent

38. BizZCredit and/or ltria knowingly, willfully and/or recklessly gained access to
Ms. Patel’s consumer report under false pretenses, under the pretext that it was using the reports

for “insurance underwriting,” in violation of15 U.S.C. § l681q and 15 U.S.C. § l681n.

 

 

 

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39. Upon information and belief, Biz2Credit and/or Itria knowingly, willfully and!or
recklessly gained access to its other customers’ consumer reports by falsely certifying that it was
for the purpose of insurance underwriting

40. Upon information and belief, Bix2Credit and/or ltria knowingly_, willfully andjor
recklessly gained access to other individuals’ consumer reports without having permission or
written authorization from the person about whom the consumer report was obtained

41. The permissible purpose provisions of the Fair Credit Reporting Act have been in
effect for over 40 years, and the permissible purpose provision has been interpreted by courts
nationwide firmly establishing that no one may obtain a consumer report without first having a
permissible purpose to do So.

42. Without having a permissible purpose or without having information sufficient to
verify that Ms. Patel and other consumers had authorized access to their consumer reports,
Biz2Credit and/or ltria provided false information in order to obtain such information from
consumer reporting agencies

43. Biz2Credit and!or Itria obtained consumer reports repeatedly without a
permissible purpose to do so because they were not conducting account review of an insurance
account.

44. In the alternative, Biz2Credit andfor ltria negligently failed to comply with the
Fair Credit Reporting Act in accessing Ms. Patel’s consumer report, in violation of 15 U.S.C. §
168lo.

45. ln the alternative, Biz2Credit andjor Itria negligently failed to comply with the
Fair Credit Reporting Act in obtaining consumer reports about individuals in violation of 15

u.s.C. § 16810.

 

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46. As of 2014, Itria/Biz2Credit claims to have made $1.2 billion of small business
loans That number is certainly much larger now.

47. ltria/BizZCredit routinely run illegal credit checks based on the false stated
purpose of “insurance underwriting”

48. The number of individuals whose credit Defendants have accessed in an illegal
manner for the false purpose of “insurance underwriting” (similar to Plaintiff) likely numbers in
the thousands

COUNT I: CLASS CLAIM FOR VIOLATION OF THE FAIR CREDIT REPORTING
ACT 15 U.S.C. § 1681b(a)
(Itria and TransUnion)

49. Ms. Patel realleges each and every allegation contained in the preceding
paragraphs with the same force and effect as if they were fully set out herein.

50. Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this claim for
herself and on behalf of a classes initially defined as:

(i) Itria § 1681 b(a) Impermissible Purpose Class

All natural persons residing in the United States: (1) whose consumer report was

obtained; (2) by Biz2Credit and/or ltria; (3) from Itria; (4) where Biz2Credit or Itria

stated the purpose was for “insurance underwriting”: (5) on or after May 1, 2012.

The Plaintiff is a member of this class

(ii) TransUnion § l681b(a) Impermissible Pul'pose Class

All natural persons residing in the United States: (l) whose consumer report was

obtained; (2) by Biz2Credit and/or ltria; (3) from TransUnion; (4) where Biz2Credit or

Itria stated the purpose was for “insurance underwriting”: (5) on or after May 1, 2012.

The Plaintiff is a member of this class

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47. Numerosity: Fed. R. Civ. P. 23(3)(1). Plaintiff alleges that the class members
are so numerous thatjoinder of all is impractical The names and addresses of the class members
are identifiable through the internal business records maintained by Defendants, including email
addresses and postal addresses The class members may be notified of the pendency of this
action through mail and/or email.

48. Predominance of Common Questions of Law or Fact: Fed. R. Civ. P. 23(a)(2).
Common questions of both law and fact exist as to all members of each putative class. There are
no factual or legal isues that differ between the putative class members These questions
predominate over questions affecting only individual class members The principal issues are:
(a) whether Defendants supplied a consumer report to third parties about Plaintiff and each
putative class member for a permissible purpose; (b) whether Defendants’ violations were
negligent, reckless, knowing or intentionally committed in conscious disregard for the rights of
the Plaintiff and putative class members

49. Typicality. Fed. R. Civ. P. 26(a)(3). Plaintiffs claims are typical of the claims
of each putative class member. In fact, the Plaintiff s claims are identical to the putative class
members because BizZCredit and!or Itria obtained consumer reports based on the
misrepresentation that the report was being obtained for insurance underwriting The Plaintiff`s
claim and the class member claims are based on the same facts and legal theories

50. Adequacy of Representation. Fed. R. Civ. P. 23(b)(3). Both Plaintiff and her
counsel are adequate to represent the interests of the class Plaintiff’s interest are coincidental,
and are not antagonistic, to the interest of the class members Plaintiff has retained experienced

counsel who are competent in both class action litigation and the Fair Credit Reporting Act.

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Neither Plaintiff nor counsel have interests that prevent vigorous prosecution of the case on
behalf of the classl

51. Superiority. Fed. R. Civ. P 23(b)(3). Questions of law and fact common to the
Class members predominate over question affecting only individual members and a class action
is superior to other available methods for fair and efficient adjudication of the controversy. The
damages sought by each member are such that individual prosecution would prove burdensome
and expensive Additionally, class members would not have known that Defendants were
providing consumer reports about them without a permissible purpose lt would be next to
impossible for class members to individual learn of the facts that give rise to the FCRA claims in
this lawsuit, and for each one to find a lawyer and afford individual litigation Individualized
litigation presents the possibility for inconsistent outcomes and contradictory judgments
increases delay and expense to all parties and to the courts By contrast, the class action device
will result in substantial benefits to the litigants and the Court by allowing the Court to resolve
numerous individual claims based o a single set of proofs

52. Biz2Credit and/or Itria obtained Ms Patel’s credit report for the stated purpose of
“insurance underwriting.” This purported purpose is false Neither Biz2Credit nor Itria have
ever been involved in underwriting insurance for Ms. Patel, and neither ever obtained her
permission to access her credit reports

53. Defendants knowingly, willfully and/or recklessly allowed Biz2Credit and/or ltria
to access to Ms. Patel’s credit report because they know they are not in the business of using the
reports for “insurance underwriting” and had no permissible purpose in violation of 15 U.S.C. §

1681q and 15 U.S.C. § 1681n.

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54. The ongoing intrusions were either intentional1 or Defendants cared so little about
the duties owed under the FCRA that their conduct was carried out with reckless disregard,
which gives rise to a willful violation, rendering Defendants liable pursuant to 15 U.S.C. §
1681n. 1n the alternative Defendants negligently failed to comply with the F air Credit Reporting
Act in providing Ms. Patel’s credit report, in violation of 15 U.S.C. § 16810.

55. Ms Patel and the class are entitled to recover statutory damages punitive
damages, costs and attomeys’ fees in an amount to be determines by the Court pursuant to 15
U.S.C. § l681n& 16810.

COUNT Il: CLASS CLAIM FOR VIOLATION OF THE FAIR CREDIT REPORTING
ACT 15 U.S.C. § 1681e(a)
(Itria and TransUnion)

56. Ms. Patel realleges each and every allegation contained in the preceding
paragraphs with the same force and effect as if they were fully set out herein.

57. Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this claim for
herself and on behalf of classes initially defined as:

(i) Itria § 1681e(a) Class

All natural persons residing in the United States: (1) whose consumer report was

provided to; (2) by Biz2Credit and/or ltria; (3) by ltria; (4) where Biz2Credit or ltria

stated the purpose was for “insurance underwriting”: (5) on or after May 1, 2012.

The Plaintiff is a member of this class

(ii) TransUnion § 1681e(a) Class

All natural persons residing in the United States: (1) whose consumer report was

provided to', (2) by Biz2Credit and/or ltria; (3) by TransUnion; (4) where BizZCredit or

Itria stated the purpose was for “insurance underwriting”: (5) on or after May l, 2012.

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The Plaintiff is a member of this class

58. Numerosity: Fed. R. Civ. P. 23(a)(1). Plaintiff alleges that the class members
are so numerous that joinder of all is impractical The names and addresses of the class members
are identifiable through the internal business records maintained by Defendants including email
addresses and postal addresses The class members may be notified of the pendency of this
action through mail and/or email.

59. Predominance of Common Questions of Law or Fact: Fed. R. Civ. P, 23(a)(2).
Common questions of both law and fact exist as to all members of each putative class There are
no factual or legal issues that differ between the putative class members These questions
predominate over questions affecting only individual class members The principal issues are:
(a) whether Defendants supplied a consumer report to third parties about Plaintiff and each
putative class member for a permissible purpose; (b) whether Defendants had reasonable
procedures in place to comply with section l681b; (c) whether Defendants required that
prospective users of the information identify themselves certify the purposes for which the
information is sought, and certify that the information will be used for no other purpose; (d)
whether Defendants made a reasonable effort to verih_/ the uses certified by Biz2Credit and ltria
prior to furnishing such user a consumer report. Defendants’ violations were negligent, reckless
knowing or intentionally committed in conscious disregard for the rights of the Plaintiff and
putative class members

60. Typicality. Fed. R. Civ. P. 26(3)(3). Plaintiff s claims are typical of the claims
of each putative class member. ln fact, the Plaintiff’s claims are identical to the putative class
members because Defendants do not have reasonable procedures in place to prevent provision of

the Plaintiff’s and class members’ consumer reports to Biz2Credit and/or ltria without a

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permissible purpose The Plaintiff" s claim and the class member claims are based on the same
facts and legal theories

61. Adequacy of Representation. Fed. R. Civ. P. 23(b)(3). Both Plaintiff and her
counsel are adequate to represent the interests of the class. Plaintiffs interest are coincidental,
and are not antagonistic, to the interest of the class members Plaintiff has retained experienced
counsel who are competent in both class action litigation and the Fair Credit Reporting Act.
Neither Plaintiff nor counsel have interests that prevent vigorous prosecution of the case on
behalf of the class

62. Superiority. Fed. R. Civ. P 23(b)(3). Questions of law and fact common to the
Class members predominate over questions affecting only individual members and a class action
is superior to other available methods for fair and efficient adjudication of the controversy. The
damages sought by each member are such that individual prosecution would prove burdensome
and expensive Additionally, class members would not have known that Defendants were
providing consumer reports about them without a permissible purpose lt would be next to
impossible for class members to individual learn of the facts that give rise to the FCRA claims in
this lawsuit, and for each one to find a lawyer and afford individual litigation. Individualized
litigation presents the possibility for inconsistent outcomes and contradictory judgments
increases delay and expense to all parties and to the courts By contrast, the class action device
will result in substantial benefits to the litigants and the Court by allowing the Court to resolve
numerous individual claims based o a single set of proofs

63. Biz2Credit and/or Itria were able to obtain Ms Patel’s credit report because the
Defendants did not have reasonable procedures to ensure the consumer reports were being

supplied to them for a permissible purpose

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64. Defendants knowingly, willfully and/or recklessly allowed Biz2Credit and/or ltria
to access to Ms. Patel’s credit report in violation of 15 U.S.C. § 1681q and 15 U.S.C. § 1681n.

65. The ongoing intrusions were either intentional, or Defendants cared so little about
the duties owed under the FCRA that their conduct was carried out with reckless disregard,
which gives rise to a willful violation, rendering Defendants liable pursuant to 15 U.S.C. §
1681 n. ln the altemative, Defendants negligently failed to comply with the Fair Credit Reporting
Act in failing to use reasonable procedures to prevent the provision of Ms. Patel’s credit report,
in violation of15 U.S.C. § 168lo.

66. Ms. Patel and the class are entitled to recover statutory damages punitive
damages costs and attorneys’ fees in an amount to be determines by the Court pursuant to 15
U.S.C. § 1681n &16810.

COUNT III: CLASS CLAIM FOR VIOLATION OF THE FAIR CREDIT REPORTING
ACT 15 U.S.C. § 1681e(a)
(BizZCredit and Itria)

67. Ms Patel realleges each and every allegation contained in the preceding
paragraphs with the same force and effect as if they were fully set out herein.

68. Pursuant to F ederal Rule of Civil Procedure 23, Plaintiff brings this claim for
herself and on behalf of a class of consumers initially defined as:

(i) Itria § 1681b(f) Class

All natural persons residing in the United States: (1) whose consumer report was obtained

by ltria; (2) where Itria failed to accurately and lawfully certify a permissible purpose; (3)

to a consumer reporting agency (4) or where ltria stated the purpose was for “insurance

underwriting” (5) on or after May l, 2012.

lhe Plaintiff is a member of this class

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(ii) Biz2Credit § 1681 b(f) Class

All natural persons residing in the United States: (1) whose consumer report was obtained

by ltria; (2) where ltria failed to accurately and lawfully certify a permissible purpose; (3)

to a consumer reporting agency (4) or where ltria stated the purpose was for "insurance

underwriting” (5) on or after May l, 2012.

69. Numerosity: Fed. R. Civ. P. 23(3)(1). Plaintiff alleges that the class members
are so numerous thatjoinder of all is impractical The names and addresses of` the class members
are identifiable through the internal business records maintained by Defendants including email
addresses and postal addresses The class members may be notified of the pendency of this
action through mail and/or email.

70. Predorninance of Cornmon Questions of Law or Fact: Fed. R. Civ. P. 23(a)(2).
Comrnon questions of both law and fact exist as to all members of each putative class There are
no factual or legal issues that differ between the putative class members These questions
predominate over questions affecting only individual class members The principal issues are:
(a) whether Biz2Credit and ltria had a permissible purpose to obtain the Plaintiff’s and class
member consumer reports (b) whether Biz2Credit’s and!or ltria’s violations were negligent,
reckless knowing or intentionally committed in conscious disregard for the rights of the Plaintiff
and putative class members

71. Typicality. Fed. R. Civ. P. 26(a)(3). Plaintiff’s claims are typical of the claims
of each putative class member. In fact, the Plaintiff’s claims are identical to the putative class
members because every single claim is alleged to be a violation of 15 U.S.C. § 1681b(f), which

challenges Biz2Credit’s and/or ltria’s procedure for obtaining consumer reports without a

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permissible purpose The Plaintiffs claim and the class member claims are based on the same
facts and legal theories and they are ali entitled to the same relief.

72. Adequacy of Representation. Fed. R. Civ. P. 23(b)(3). Both Plaintiff and her
counsel are adequate to represent the interests of the class Plaintiff`s interests are coincidental,
and are not antagonistic, to the interest of the class members Plaintiff has retained experienced
counsel who are competent in both class action litigation and the Fair Credit Reporting Act.
Neither Plaintiff nor counsel have interests that prevent vigorous prosecution of the case on
behalf of the class

73. Superiority. Fed. R. Civ. P 23(b)(3). Questions of law and fact common to the
Class members predominate over questions affecting only individual members and a class action
is superior to other available methods for fair and efficient adjudication of the controversy. lhe
damages sought by each member are such that individual prosecution would prove burdensome
and expensive Additionally, class members would not have known that Defendants were
obtaining consumer reports about them without a permissible purpose lt would be next to
impossible for class members to individual learn of the facts that give rise to the FCRA claims in
this lawsuit, and for each one to find a lawyer and afford individual litigation Individualized
litigation presents the possibility for inconsistent outcomes and contradictory judgments
increases delay and expense to all parties and to the courts By contrast, the class action device
will result in substantial benefits to the litigants and the Court by allowing the Court to resolve
numerous individual claims based o a single set of proofs

74. Biz2Credit and/or ltria were able to obtain Ms. Patel’s credit report because they

misrepresented the “purpose” for which the report was being sought; they did not obtain Ms.

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Patel’s permission to obtain her consumer report', they did not obtain Ms. Patel’s signature on the
application or Receivables Agreement.
75. Defendants knew that they misrepresented the purpose for which they accessed
Ms Patel’s report on numerous occasions lnitially, they falsely stated that the permissible
purpose was for insurance underwriting, which they knew to be false Defendants knew that
they did not have authentic permission from Ms Patel since they did not have her original
notarized signature on any application or agreement After Defendants learned that Ms. Patel had
not signed the application or agreement, and that she was not in any way affiliated with Spire_,
they nonetheless continued to access her consumer report from TransUnion.
76. Biz2Credit and Itria’s violations of the FCRA were made knowingly, willfully
and/or recklessly in violation of 15 U.S.C. § 1681q and 15 U.S.C. § l681n.
77. The ongoing intrusions were either intentional, or Defendants cared so little about
the duties owed under the FCRA that their conduct was carried out with reckless disregard,
which gives rise to a willful violation, rendering Defendants liable pursuant to 15 U.S.C. §
1681n. ln the alternative Defendants negligently failed to comply with the Fair Credit Reporting
Act in accessing Ms. Patel’s credit report, in violation of 15 U.S.C. § 16810.
78. Ms Patel and the class are entitled to recover actual_, statutory, and punitive
damages costs and attomeys’ fees in an amount to be determines by the Court pursuant to 15
U.S.C. § l681n &16810.
WHEREFORE, the Plaintiff and the putative class members demand judgment for
statutory, actual, and punitive damages against the Defendants; for attorney’s fees and costs; for
pre-judgment and post-judgment interest at the legal rate; and such other relief the Court deems

just, equitable and proper.

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TRIAL BY JURY IS DEMANDED.

Respectfully Submitted,

Bhavika Patel, individually and on behalf of
others similarly situated,

By: /s/ Susan M. Rotkis

Susan M. Rotkis (Ariz. Bar No. 032866)
CoNsuMER LlrchTloN AssocrArEs Wl~:sr, P.L.L
382 South Convent Ave.

Tucson, AZ 85701

Telephone: (520) 622-2481

srotkis@clalegal.com

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